  USCA Case #22-1081             Document #2004783            Filed: 06/23/2023     Page 1 of 1

                        United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-1081                                                   September Term, 2022
                                                                            EPA-87FR14332
                                                     Filed On: June 23, 2023 [2004783]
State of Ohio, et al.,

                   Petitioners

         v.

Environmental Protection Agency and
Michael S. Regan, in his official capacity as
Administrator of the U.S. Environmental
Protection Agency,

                   Respondents

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Advanced Energy United, et al.,
                   Intervenors
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Consolidated with 22-1083, 22-1084,
22-1085

                                             ORDER

       It is ORDERED, on the court's own motion, that these cases be scheduled for oral
argument on September 15, 2023, at 9:30 A.M. The composition of the argument panel will
usually be revealed thirty days prior to the date of oral argument on the court's web site at
www.cadc.uscourts.gov.

         The time and date of oral argument will not change absent further order of the Court.

         A separate order will be issued regarding the allocation of time for argument.

                                                            FOR THE COURT:
                                                            Mark J. Langer, Clerk

                                                    BY:     /s/
                                                            Michael C. McGrail
                                                            Deputy Clerk

The following forms and notices are available on the Court's website:

         Memorandum to Counsel Concerning Cases Set for Oral Argument (Form 71)
